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                                                                                     Judge Robert J. Bryan
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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT TACOMA
 8
                                                         )
 9   UNITED STATES OF AMERICA,                           )   Case No.: CR94-5074RJB
                                                         )
10                  Plaintiff,                           )   ORDER SEALING DEFENDANT
                                                         )   WARREN’S SUPPLEMENTAL
11          vs.                                          )   SENTENCING MEMORANDUM
                                                         )
12   JEFFERY JAY WARREN,                                 )
                                                         )
13                  Defendant.                           )
                                                         )
14

15
            This matter having come before the Court on the Defendant’s Motion to Seal
16
     Supplemental Sentencing Memorandum in this case, requesting the document remain under seal,
17
     and the Court having considered the motion and the argument in support of the motion in the
18
     Supplemental Sentencing Memorandum,
19
            It is hereby ORDERED that Defendant Jeffery Jay Warren’s Sentencing Memorandum
20
     filed under seal in this case shall remain sealed until further order of the Court
21
            DONE THIS 27th DAY OF May, 2009.
22

23

24                                                  A
                                                    ROBERT J. BRYAN
25
                                                    United States District Judge


     [PROPOSED] ORDER SEALING DEFENDANT                                      SIDERIUS LONERGAN & MARTIN LLP
                                                                                           ATTORNEYS AT LAW
     WARREN’S SUPPLEMENTAL SENTENCING                                              500 UNION STREET, SUITE 847
     MEMORANDUM                                                                             SEATTLE, WA 98101
      (Warren, CR94-5074RJB) - 1                                                                  (206) 624-2800
                                                                                              FAX (206) 624-2805
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     Presented by:
 4

 5   /s/ Michael G. Martin__________________
 6   Michael G. Martin, WSBA # 11508
     Attorney for Jeffery Jay Warren
 7   Siderius Lonergan & Martin LLP
     500 Union Street, Suite 847
 8   Seattle, WA 98101
     (206) 624-2800
 9   Fax (206) 624-2805
     Email: michaelm@sidlon.com
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     [PROPOSED] ORDER SEALING DEFENDANT                      SIDERIUS LONERGAN & MARTIN LLP
                                                                           ATTORNEYS AT LAW
     WARREN’S SUPPLEMENTAL SENTENCING                              500 UNION STREET, SUITE 847
     MEMORANDUM                                                             SEATTLE, WA 98101
      (Warren, CR94-5074RJB) - 2                                                  (206) 624-2800
                                                                              FAX (206) 624-2805
